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                                       UNITE STATES BANKRUPTCY C URT
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IN RE:                                                                 C    N .

GRACE P. COMPTON,                                                      C
                   D           .


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            .        O M                     ,               ,D                                                                                                      C
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            .        M                                                                                  D
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                .            M                                           C               O
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    EBT R
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